Case 1:25-cv-00778-LLA   Document 35-8   Filed 04/18/25   Page 1 of 2




                 Exhibit G
Standard Form 50                        Case 1:25-cv-00778-LLA                                         Document 35-8                        Filed 04/18/25                   Page 2 of 2
Rev. 7/91
U.S. Office of Personnel Management                                        NOTIFICATION OF PERSONNEL ACTION
FPM Supp. 296−33, Subch. 4

1. Name (Last, First, Middle)                                                                                       2. Social Security Number           3. Date of Birth              4. Effective Date
AVIEL, SARA MARGALIT                                                                                                                                                                       02/26/2025

FIRST ACTION                                                                                                     SECOND ACTION
  5−A. Code                 5−B. Nature of Action                                                                6−A. Code                   6−B. Nature of Action
       001                   CANCELLATION                                                                          357                       TERMINATION
  5−C. Code                 5−D. Legal Authority                                                                 6−C. Code                   6−D. Legal Authority
       ASM                   CVL # 25-00778-LLA,DTD 4/4/25                                                         ZLM                       22 U.S.C. 290(L)(1)
  5−E. Code                 5−F. Legal Authority                                                                 6−E. Code                   6−F. Legal Authority
       VWL                   5 U.S.C. 5596
7. FROM: Position Title and Number                                                                               15. TO: Position Title and Number
 PRESIDENT & CEO

 4010000000 IF17002
8. Pay Plan 9. Occ. Code        10. Grade or Level 11. Step or Rate 12. Total Salary           13. Pay Basis     16. Pay Plan     17. Occ. Code    18. Grade or Level 19.Step or Rate 20. Total Salary/Award     21. Pay Basis

  AD             0301              00                   00                $191900.00               PA
12A. Basic Pay              12B. Locality Adj.              12C. Adj. Basic Pay            12D. Other Pay        20A. Basic Pay                    20B. Locality Adj.      20C. Adj. Basic Pay      20D. Other Pay
  $191900.00                    $0.00                           $191900.00                   $0.00
14. Name and Location of Position’s Organization                                                                 22. Name and Location of Position’s Organization
IF00 INTER-AMERICAN FOUNDATION
EXECUTIVE OFFICE OF THE PRESIDENT



WASHINGTON,DC

EMPLOYEE DATA
23. Veterans Preference                                                                                          24. Tenure                                    25. Agency Use        26. Veterans Preference for RIF
              1 − None           3 − 10−Point/Disability            5 − 10−Point/Other                                      0 − None         2 − Conditional
   1          2 − 5−Point        4 − 10−Point/Compensable           6 − 10−Point/Compensable/30%                       3    1 − Permanent    3 − Indefinite                                  YES       X       NO
27. FEGLI                                                                                                        28. Annuitant Indicator                                             29. Pay Rate Determinant
   C0        BASIC ONLY                                                                                            9        NOT APPLICABLE                                             0
 30. Retirement Plan                                                       31. Service Comp. Date (Leave) 32. Work Schedule                                                          33. Part−Time Hours Per
                                                                                                                                                                                               Biweekly
  K      FERS & FICA                                                       05/01/1999                               F       FULL-TIME                                                           Pay Period
 POSITION DATA
 34. Position Occupied                                                     35. FLSA Category                     36. Appropriation Code                                              37. Bargaining Unit Status
         1 − Competitive Service      3 − SES General                                  E − Exempt
  2      2 − Excepted Service         4 − SES Career Reserved
                                                                             E         N − Nonexempt                                                                                  8888
 38. Duty Station Code                                                     39. Duty Station (City − County − State or Overseas Location)
 11-0010-001                                                               WASHINGTON,DISTRICT OF COLUMBIA
40. Agency Data                 41.                                 42.                                43.                          44.
FUNC CLS 00                     VET STAT X                         EDUC LVL 04                       SUPV STAT 2                    POSITION SENSITIVITY CRITICAL-SENSITIVE

 45. Remarks
  ENTITLED TO BACK PAY UNDER 5 U.S.C. 5596.
  CONSISTENT WITH UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
  COLUMBIA (CIVIL ACTION NO. 25-CV-00778-LLA) PRELIMINARY INJUNCTION
  DATED APRIL 4,2025, CANCELLING TERMINATION ACTION PROCESSED




46. Employing Department or Agency                                                                             50. Signature/Authentication and Title of Approving Official
  IF - INTER-AMERICAN FOUNDATI                                                                                 251189419 / ELECTRONICALLY SIGNED BY:
47. Agency Code             48. Personnel Office ID                  49. Approval Date                         MELANIE STEWART
 IF00                           1840                                 04/07/2025                                SUPVY HR SPECIALIST
5−Part 50−316                                                                                                                                                                        Editions Prior to 7/91 Are Not Usable After 6/30/93
                                                                     2 - OPF Copy - Long-Term Record - DO NOT DESTROY                                                                                           NSN 7540−01−333−6238
